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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MARYLAND



LA UNIÓN DEL PUEBLO ENTERO,
PROMISE ARIZONA, LYDIA
CAMARILLO, JUANITA VALDEZ-COX,
ROGENE GEE CALVERT, ZEENAT
NISHA HASAN, and CANDY L.
GUTIERREZ,                                  Civil Action No. 8:19-cv-02710-GJH

                       Plaintiffs,
       v.                                   Hon. George J. Hazel

WILBUR L. ROSS, sued in his official
capacity as U.S. Secretary of Commerce,

STEVEN DILLINGHAM, sued in his
official capacity as Director of the U.S.
Census Bureau,

U.S. DEPARTMENT OF COMMERCE,
and

U.S. CENSUS BUREAU,

                       Defendants.



      PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION TO UN-RELATE
                        AND REASSIGN THIS CASE
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                                         INTRODUCTION

       Since taking office in 2017, the Trump Administration has sought to diminish the political

representation of Latinos, non-U.S. citizens, immigrants, and communities of color by

manipulating the Census Bureau’s information collection and reporting processes. First,

Defendants sought to accomplish their discriminatory goal by adding a question to the 2020

decennial census questionnaire that would have collected citizenship information from every

individual in this country. That was Plan A. After Plan A was enjoined by various courts,

including the Supreme Court and this Court, Defendants proceeded to Plan B. Plan B seeks to

collect the same information, citizenship data, but instead of collecting it through a question on

the 2020 census questionnaire, Defendants seek to collect citizenship data using administrative

records. Although the means have changed, the goal is the same: collect citizenship data so that

states can use the data for redistricting in 2021 to benefit non-Hispanic Whites and Republicans.

       Several of the same plaintiffs who challenged the Trump Administration’s decision to add

a citizenship question to the 2020 census again petition this Court to prevent Defendants from

accomplishing their discriminatory objective. Accordingly, Plaintiffs properly designated this

case as related to the earlier case challenging Defendants’ decision to add a citizenship question to

the 2020 census because it involves overlapping questions of fact and law, involves several

identical parties, and would entail substantial duplication of labor if heard by a different judge.

                                         BACKGROUND

The Citizenship-Question Lawsuit

        On May 31, 2018, plaintiffs in La Unión Del Pueblo Entero (LUPE) v. Ross, No. 18-cv-

01570-GJH (D. Md.) (hereinafter, the “citizenship-question case”) filed a lawsuit challenging the




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addition of a citizenship question to the 2020 decennial census.1 The case was later consolidated

for trial with another case before this Court also involving a challenge to the citizenship question,

Kravitz v. Department of Commerce, No. 18-cv-1041 (D. Md.) (hereinafter we refer to the

consolidated cases as “Kravitz”). In Kravitz, plaintiffs sought declaratory and injunctive relief to

preserve the integrity of the decennial census and prevent Defendants from violating the Fifth

Amendment’s equal protection guarantee, the Apportionment and Enumeration Clauses, the

Administrative Procedure Act (“APA”), and 42 U.S.C. § 1985, conspiracy to violate civil rights

(citizenship-question case only). Id., ECF 42 ¶ 2.

       On April 5, 2019, after a six-day bench trial, this Court granted plaintiffs’ requested relief

and found, among other things, that:

       [T]he decision to add a citizenship question to the 2020 Census was arbitrary and
       capricious in violation of the APA; Defendants’ actions violate the Constitution by
       unreasonably compromising the distributive accuracy of the Census contrary to the
       Enumeration Clause’s mandate; and Plaintiffs did not meet their burden to prove
       Defendants’ actions violate the Due Process Clause or amount to a conspiracy to
       violate civil rights because Plaintiffs failed to show that the addition of the
       citizenship question was motivated by invidious racial discrimination.

Kravitz v. Dep’t of Commerce, 366 F. Supp. 3d 681, 691 (D. Md. 2019).

       This Court permanently enjoined Defendants from:

       [I]including a citizenship question on the 2020 decennial Census questionnaire;
       from delaying the process of printing the 2020 decennial census questionnaire after
       June 30, 2019 for the purposes of including a citizenship question; and from asking
       persons about citizenship status on the 2020 Census questionnaire or otherwise
       asking a citizenship question as part of the 2020 decennial Census.

Kravitz v. Dep’t of Commerce, No. 18-cv-1041 (D. Md. July 16, 2019), ECF 203.




1
 The plaintiffs in the prior LUPE lawsuit consisted of seven individual plaintiffs and twenty-five
organizational plaintiffs. LUPE v. Ross, No. 18-cv-01570-GJH (D. Md.), ECF 42 ¶¶ 1-130.
                                                  2
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       The parties appealed the Court’s April 5 ruling, and while the decision was pending on

appeal, the Supreme Court heard arguments in Department of Commerce v. New York, No. 18-

966, a parallel consolidated case involving challenges to the citizenship question.

       On June 3, 2019, the Kravitz plaintiffs moved for relief from judgment and sought an

indicative ruling from this Court based on “newly discovered evidence” from the late map drawer

and Republican strategist, Dr. Thomas Hofeller, that “provide[d] the link between the explicitly

discriminatory purpose behind the citizenship question and the Commerce Department’s actions.”

Kravitz, No. 18-cv-1041 (D. Md. June 3, 2019), ECF 162-1 at 1. This Court concluded that the

“newly discovered evidence” raised a “substantial issue” because it “suggests that Dr. Hofeller

was motivated to recommend the addition of a citizenship question to the 2020 Census to

advantage Republicans by diminishing Hispanics’ political power.” Kravitz, No. 18-cv-1041 (D.

Md. June 24, 2019), ECF 175 at 8, 13. Consequently, on June 25, 2019, the Fourth Circuit

granted Kravitz plaintiffs’ motion to remand for further proceedings on the Fifth Amendment and

conspiracy claims. Kravitz, No 19-1382 (4th Cir. June 25, 2019), ECF 45.

       On June 27, 2019, the Supreme Court vacated and remanded Secretary Ross’s decision to

add a citizenship question to the 2020 decennial census, holding that the Secretary’s decision

violates the APA because his rationale for adding a citizenship question “seems to have been

contrived.” Dep’t of Commerce v. New York, 139 S. Ct. 2551, 2575 (2019).

       On August 19, 2019, the Fourth Circuit remanded Kravitz to this Court with instructions

to vacate paragraph six of the Court’s April 5 order. LUPE v. Ross, No 19-1425 (4th Cir. Aug.

19, 2019), ECF 52.2


2
 Paragraph six states: “Final judgment is entered for Defendants and against Plaintiffs on
Plaintiffs’ claims arising under the Due Process Clause of the Fifth Amendment of the
Constitution (Count II of the Kravitz Plaintiffs’ Third Amended Complaint, ECF No. 86 (18-
                                                 3
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The Current Lawsuit

        On July 11, 2019, President Trump issued Executive Order 13880, Collecting Information

about Citizenship Status in Connection with the Decennial Census (“EO 13880”). Among other

things, EO 13880 directs Secretary Ross to instruct the Census Bureau to create an inter-agency

working group to collect citizenship data in connection with the 2020 decennial census for states

to use in redistricting. On July 12, 2019, the Census Bureau published a notice dated July 3,

2019, stating that Secretary Ross had directed the Census Bureau to collect and produce

Citizenship Voting Age Population (“CVAP”) information prior to April 1, 2021 that states may

use in redistricting.

        On September 13, 2019,3 Plaintiffs filed this lawsuit, alleging that the President’s order

and Secretary Ross’s directive that the Department of Commerce provide states with CVAP

information for redistricting is motivated by a racially discriminatory scheme to reduce Latino

political representation and increase the over-representation of non-Latino Whites, unlawfully

advantaging White voters at Latino voters’ expense.

        Plaintiffs allege that EO 13880 and Secretary Ross’s directive should be set aside because

they violate the APA, and that Defendants’ actions should be enjoined because they are motivated

by racial animus, are discriminatory toward Latinos and non-citizens, and are the result of a

partisan conspiracy intended to dilute the representation of non-citizens and Latinos, in violation

of the equal protection guarantee of the Fifth Amendment of the U.S. Constitution, and 42 U.S.C.

§ 1985(3).




1041) and Count II of the LUPE Plaintiffs’ Amended Complaint, ECF No. 42 (18-1570)).” LUPE
v. Ross, 18-cv-01570-GJH (D. Md.), ECF 126 at 2.
3
  On October 9, 2019, Plaintiffs amended their complaint to add three individuals from Texas,
Arizona, and Washington.
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       When Plaintiffs filed their complaint, they indicated on the civil cover sheet that this case

is related to LUPE v. Ross, No. 18-cv-1570, which was later consolidated with the Kravitz case.

ECF 1-1.

                                       LEGAL STANDARD

       Generally cases are randomly assigned to judges in this district. However, in the interest

of judicial economy, Local Rule 103.1(b)(i) creates an exception to the random assignment rule.4

The District of Maryland Local Rules state:

       If counsel for a plaintiff in a civil action believes that the action being filed and
       one (1) or more other civil actions or proceedings previously decided or pending in
       this Court (1) arise from the same or identical transactions, happenings, or events;
       (2) involve the identical parties or property; (3) involve the same patent or
       trademark; or (4) for any other reason would entail substantial duplication of labor
       if heard by different judges, counsel shall indicate that fact by designating the case
       as a “related case” on the civil cover sheet.

Local Civ. R. 103.1(b)(i) (emphasis added).

       “In determining whether cases are related, the paramount consideration is whether

assigning them to the same district judge will further the efficient administration of justice.”

Habitat Educ. Ctr., Inc. v. Kimbell, 250 F.R.D. 390, 396 (E.D. Wis. 2008) (finding four cases to

be related because, although they did not arise from the exact same transaction or event, they


4
  Defendants’ description of the legal standard for determining whether cases are properly related
rests on inapposite cases where plaintiffs manipulated the judicial process by engaging in
improper “judge-shopping.” See, e.g., In re BellSouth Corp., 334 F. 3d 941, 958 (11th Cir. 2003)
(examining the proper course of action where a party is accused of contriving to engineer the
recusal of a judge by hiring a close relative of the judge as counsel); Vaqueria Tres Monjutas, Inc.
v. Rivera Cubano, 341 F. Supp. 2d 69 (D.P.R. 2004) (finding that plaintiffs were “judge-
shopping” where they voluntarily dismissed their case after losing a preliminary injunction
motion only to refile the same case to try again with a different judge); United States v. Kelly, 519
F. Supp. 1029 (D. Mass. 1981) (denying objection to case related designation where the U.S.
Attorney moved to disqualify federal judge from a criminal case on alleged prior relationship
between the judge and defendant where the motion was based on mere innuendo and rumor that
was ultimately refuted). Here, there are no allegations or evidence that Plaintiffs contrived to
manipulate the judicial process or engaged in any wrongdoing.
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involved similar factual circumstances and the “administrative records of the projects

substantially overlap”) (citing Fed. R. Civ. P. 1).

         District courts have discretion to determine whether a case is properly designated as

related to a prior filed case. Access Now, Inc. on behalf of New v. Allen Edmonds Corp., No.

17CV0959, 2017 WL 4023258, at *1 (W.D. Pa. Sept. 13, 2017) (“this Court has discretion to

reject an assignment if the Court determines that a case was not related to a prior filed case, or if

the assignment would not promote the convenience of the parties or witnesses or the just and

efficient conduct of the action.”) (internal citations omitted); see also United States v. Stone, 411

F.2d 597, 599 (5th Cir. 1969) (“District Judges have the inherent power to transfer cases from one

to another for the expeditious administration of justice.”).

                                           ARGUMENT

       Plaintiffs properly designated this case as related to the citizenship-question case, and

assignment to this Court is proper. The two cases involve similar factual questions and legal

issues, similar parties, and the same counsel, “such that judicial economy would be served by

having these matters resolved by the same judge.” Autumn Journey Hospice, Inc. v. Sebelius, 753

F. Supp. 2d 135, 140 (D.D.C. 2010).

I.     This Case And The Citizenship-Question Case Arise From The Same Transactions,
       Happenings, Or Events.

       Defendants argue that this case is not related to the citizenship-question case because “the

prior case ‘ar[o]se from’ the Secretary’s decision to include a citizenship question on the 2020

Census” while “this case ‘arise[s] from’ the President’s decision to gather citizenship information

from administrative records.” ECF 44-1, Defendants’ Corrected Memorandum of Law in Support

of Defendants’ Motion to Un-Relate and Reassign This Case (“Defs.’ Opp. Mem.”), at 10.



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       Defendants’ argument fails for several reasons. First, Defendants ignore the fact that

Plaintiffs are in fact challenging action by the Secretary and not just action by the President.5

Plaintiffs are challenging Secretary Ross’s July 2019 directive to the Census Bureau “to collect

and produce [CVAP] information prior to April 1, 2021 that states may use in redistricting.” ECF

41, Plaintiffs’ First Amended Complaint (“FAC”), ¶ 1.

       Second, and more importantly, despite Defendants strained efforts to find a few examples

of differing factual questions in a case with a myriad of complicated factual issues, the two cases

arise from the same “transactions, happenings, or events.” Defs.’ Opp. Mem. at 11-12. “By

concentrating on how the cases diverge, defendant[s’] arguments miss the mark: related cases

need not be identical.” Moore v. Rite Aid Hdqtrs Corp., No. CIV.A. 13-1515, 2013 WL 4833854,

at *2 (E.D. Pa. Sept. 11, 2013). The proper focus is on whether “the two cases contain central

events with a core of similarity, such that assigning the cases to one judge would increase judicial

efficiency.” Id.

       Here, the factual questions at the heart of both cases is that Defendants and others outside

the government conspired with the Trump Administration, in some form or another (either

through a question on the census questionnaire or through administrative records), to collect

citizenship information to dilute the political strength and representation of Latinos (and other

communities of color) and non-U.S. citizens. Although the intricate details and mechanics of the

actions taken to effectuate the conspiracy may differ somewhat, there is substantial factual

overlap between the two cases “such that assigning the cases to one judge would increase judicial

efficiency.” Id.

5
 The discriminatory motive of both the President and the Secretary were also at issue in the
previous litigation. See, e.g., LUPE v. Ross, No. 18-cv-1570 (D. Md.), ECF 137-1 at 6-8, 11-13;
see also Village of Arlington Heights v. Metropolitan Housing Development Corp., 429 U.S. 252,
266-68 (1977).
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       For example, Plaintiffs in both cases allege that Defendants and the Trump Administration

took part in a conspiracy to intentionally discriminate against and dilute the political power of

Latinos, non-U.S. citizens, and communities of color to benefit non-Latino White, Republicans.

The conspiracy began in at least 2017 when President Trump took office, and has continued to the

present day. The factual issues raised in the citizenship-question case related to this conspiracy

did not end when Defendants were enjoined from adding a citizenship question to the 2020

census, rather, that was only the first part of the story. Indeed, in the Department of Commerce’s

July 2019 OMB submission, Information Collection Request 2020 Census – Enumeration

Operations OMB Control Number 0607-1006 (“July 2019 OMB submission”), the Department

noted that because the Supreme Court ruled that the Secretary’s decision to add a citizenship

question did not meet APA standards, that the Census Bureau would essentially move on to Plan

B:

       The Department, having carefully considered the matter, has determined that there
       is not sufficient time to develop an alternative record to support inclusion of the
       citizenship question. Accordingly, the Secretary has directed the Census Bureau to
       proceed with the 2020 Census without a citizenship question on the questionnaire,
       and rather to produce Citizenship Voting Age Population (CVAP) information
       prior to April 1, 2021 that states may use in redistricting.

FAC ¶ 65 (quoting the July 2019 OMB submission at 18).6 In determining Plaintiffs’ conspiracy

claim, the Court will be called upon to examine the factual predicate that includes many of the

same facts from the citizenship-question case. See, e.g., Vill. of Arlington Heights v. Metro.

Hous. Dev. Corp., 429 U.S. 252. 266-68 (1977) (identifying a non-exhaustive list of factors that

may constitute part of the mosaic of evidence that can give rise to an inference of discrimination).


6
  Paperwork Reduction Act Program, Information Collection Request 2020 Census - Enumeration
Operations OMB Control Number 0607-1006, Department of Commerce and U.S. Census Bureau
at 18 (July 3, 2019), available at https://www.documentcloud.org/documents/6192581-2020-
Census-Supporting-Statement-A- Revised-July.html#document/p18/a512146.
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Moreover, courts have found that where a discriminatory purpose infected a prior policy, that

discriminatory purpose can also provide evidence that a new policy is similarly motivated by

discriminatory intent. See, e.g., Hunter v. Underwood, 471 U.S. 222 (1985) (looking at the

original enactment of a state constitutional provision to support finding that, even 80 years later

and after several changes, the provision was still discriminatory); N.C. State Conference of

NAACP v. McCrory, 831 F.3d 204 (4th Cir. 2016) (“That a legislature impermissibly relied on

race” in enacting a prior election law “certainly provides relevant evidence as to whether race

motivated other election legislation passed by the same legislature.”).

         In addition to common questions of fact related to Plaintiffs’ conspiracy claim, there are

common questions of fact as to Plaintiffs’ APA claims. Many of the policies and procedures that

govern the Census Bureau’s collection of information from direct inquiries on the 2020 census

questionnaire apply to the Census Bureau’s collection of information from administrative records.

See, e.g., FAC ¶¶ 21-35, 46-47, 49-50; Defendants’ Exh. A in support of Defendants’ motion to

unrelated and reassign the case (“Defs.’ Exh. A”), ECF 44-2 ¶¶ 137-172. Furthermore, several

Census Bureau studies and analyses regarding the effectiveness and appropriateness for collecting

citizenship data through either a survey or administrative records are relevant in both cases. See,

e.g., FAC ¶¶ 66-72; Defs.’ Exh. A ¶¶ 168, 202, 207. Relatedly, in assisting the Court in its

findings of fact, there will likely be overlap in the experts and expert topics between the two

cases.

         Moreover, when determining whether cases are properly related, courts do not require

complete factual overlap or that that there be no factual difference, see, e.g., Assiniboine & Sioux

Tribe of Fort Peck Indian Reservation v. Norton, 211 F. Supp. 2d 157, 160 (D.D.C. 2002)

(finding that “although differences may exist between the [two cases], there are clearly issues of


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fact that are common to both cases that are sufficient to” relate the two cases), rather, relation is

appropriate where there are “many” overlapping “factual issues that [the] Court must resolve” in

both cases, id. at 159. Here, there are many overlapping factual issues. Both cases involve

factual questions related to Census Bureau internal policies and practices regarding information

collection and reporting.

       Third, Defendants argue that “Plaintiffs now take issue with the exact decision some of

them previously desired—the use of administrative records to gather citizenship data.” Defs.’

Opp. Mem. at 7. Assuming, arguendo, that Defendants’ point had merit, it suggests that relation

of these cases is appropriate given that this Court is in the best position to determine what

arguments Plaintiffs previously made and whether or not they are consistent with the arguments

Plaintiffs now make.

       Fourth, Defendants claim that “there is no overlap in legal issues” between the two cases

because Plaintiffs do not “advance [] Enumeration or Apportionment Clause claims.” Defs.’ Opp.

Mem. at 12. However, there is substantial overlap of legal claims and all of the claims in the

current case are identical to claims that were raised in the citizenship-question case. Both cases

assert claims for violation of the APA (FAC ¶¶ 88-109; Kravitz, 366 F. Supp. 3d at 691, 742-51),

the Fifth Amendment’s equal protection guarantee (FAC ¶¶ 110-113; Kravitz, 366 F. Supp. 3d at

691, 752-55), and conspiracy to violate civil rights under 42 U.S.C. § 1985(3) (FAC ¶¶ 114-117;

Kravitz, 366 F. Supp. 3d at 691, 752-55). The only different legal theory is that in the citizenship-

question case, plaintiffs raised a claim under the Enumeration Clause of the Constitution. The

fact that one of the claims is not identical is not sufficient to un-relate these cases. See Local Civ.

R. 103.1(b)(i) (relation of cases is proper when “for any other reason would entail substantial

duplication of labor if heard by different judges”).


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       Additionally, the cases share many similar factual questions related to the type of harm

alleged by the plaintiffs and they share the same ultimate goal. In the citizenship-question case,

plaintiffs alleged, inter alia, that they would be harmed by the addition of the citizenship question

because an undercount in their communities would result in inaccurate redistricting data that

would disproportionately exclude non-citizens and would cause intrastate vote dilution. Kravitz,

366 F. Supp. 3d at 723-25. Here, Plaintiffs similarly allege that administratively collecting and

disseminating citizenship data for use by the states as a redistricting population base that excludes

non-citizens will result in intrastate vote dilution. FAC ¶¶ 85-87. In both cases, plaintiffs express

the same goal: to prevent Defendants from carrying out their conspiracy to use the Census

Bureau to collect and report citizenship data that will either disproportionately or purposefully

exclude non-U.S. citizens from apportionment to the advantage of non-Latino White Republican

voters and at the expense of the Latino community. See Assiniboine & Sioux Tribe, 211 F. Supp.

2d at 158-59 (finding that cases were properly related where the individual Indian plaintiffs and

Indian tribe plaintiff sought the same “ultimate goal”).

II.    This Case And The Citizenship-Question Case Involve Identical Defendants And
       Several Of The Same Plaintiffs.

       Defendants admit that there is overlap in the parties but argue that the case should not be

related because this case “adds four plaintiffs” and “subtracts 24 organizations and six

individuals.” Defs.’ Opp. Mem. at 15-16. However, courts do not require that every party be

identical to relate cases. See, e.g., Singh v. McConville, 187 F. Supp. 3d 152, 157 (D.D.C. 2016)

(finding that even though “the Court will conduct an individual analysis with respect to each

plaintiff to determine whether each plaintiff is entitled to the relief he seeks does not obviate the

need for factual determinations related to the defendants’ regulations and policies, and their

administrations of those policies, which are common to both cases.”).

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       For example, in Assiniboine & Sioux Tribe, 211 F. Supp. 2d 157, the court found that a

case brought by an Indian tribe against the Secretary of the Interior to compel performance of

trust obligations was properly “related” to a suit filed by individual Indian plaintiffs against the

trustee-delegates of the United States and other federal officials alleging that the federal

government’s trustee-delegates had breached their fiduciary duties.

       Likewise, in Autumn Journey Hospice, the court found that a case brought by a hospice

care provider to whom Health and Human Services (“HHS”) issued a Medicare cap repayment

demand was related to a case brought by a different hospice care provider that also challenged the

hospice cap regulation even though they were not “identical parties.” Autumn Journey Hospice,

753 F. Supp. 2d at 138-41.

       Here, there is significant overlap between the parties in this case and the citizenship-

question case including identical Defendants and several identical plaintiffs that is sufficient to

“relate” the two cases. Plaintiffs La Unión Del Pueblo Entero, Promise Arizona, and Juanita

Valdez-Cox are identical in both cases, and Plaintiff Lydia Camarillo, although not named in the

citizenship-question case, was involved as the Executive Director of Plaintiff Southwest Voter

Registration Education Project.

       The Defendants in both cases are also virtually identical. The technical difference is that

at the time of filing the citizenship question case, the Acting Director of the Census Bureau was

Ron Jarmin and now the Director of the Census Bureau is Steven Dillingham. However, this is a

distinction without a difference because plaintiffs sued both Mr. Jarmin and Mr. Dillingham in

their official capacity as Director of the Census Bureau and did not sue them personally. See Fed.

R. Civ. P. 25(d) (“An action does not abate when a public officer who is a party in an official




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capacity . . . ceases to hold office while the action is pending. The officer’s successor is

automatically substituted as a party.”).

III.   There Will Be “Substantial Duplication Of Labor” If This Case Is Heard By A
       Different Judge.

       Contrary to Defendants’ assertion otherwise, there is substantial overlap in factual

questions and legal issues, such that there would be “substantial duplication of labor” if a

different judge heard this case. Local Civ. R. 103.1(b)(i). As discussed above, there is significant

overlap between the factual questions and legal issues.

       Defendants are wrong about the facts and the law, and none of the cases cited by

Defendants support un-relating these cases and reassigning the present case. For example, in

Molinari v. Bloomberg, No. CV08-4539 (ERK)(JO), 2008 WL 4876847, at *2 (E.D.N.Y. Nov.

12, 2008), the district court found that aside from having one plaintiff in common between the

two cases, there were no other commonalities of fact or legal issues between the two cases, and

therefore relation was not proper. Here, the citizenship-question case and the present case have

much more than just one party in common.

       Similar to the other cases cited by Defendants, Singh, Autumn Journey Hospice, and

Assiniboine & Sioux Tribe, this case should be related to the citizenship-question case because

there is substantial overlap in factual questions and legal issues, and there would be “substantial

duplication of labor” if a different judge heard this case. Singh, 187 F. Supp. 3d at 156 (holding

that relation was proper because the court would “be required to make similar factual

determinations in both cases related to . . . defendants’ justifications for their regulations and

policies, and the defendants’ discriminatory conduct and/or intent, if any”); Autumn Journey

Hospice, 753 F. Supp. 2d at 138-41 (finding that a case brought by a hospice care provider to

whom HHS issued a Medicare cap repayment demand was related to a case brought by a different

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hospice care provider that also challenged the hospice cap regulation because the cases “share[d]

common factual issues and arise out of a common event or transaction . . . such that judicial

economy would be served by having [the] matters resolved by the same judge.”); Assiniboine &

Sioux Tribe, 211 F. Supp. 2d at 159 (holding that two cases brought by individual Indian plaintiffs

and an Indian tribe plaintiff were related where they shared several significant common issues of

fact and “[i]t would waste judicial resources and be nonsensical to have another court address

these same factual issues, particularly in light of the fact that this Court has already heard weeks

of testimony” concerning the Department of the Interiors’ operations and computer systems).

                                          CONCLUSION

       For the foregoing reasons, Plaintiffs respectfully request that this Court deny Defendants’

motion to un-relate and reassign this case.



Dated: October 25, 2019                       Respectfully submitted,

                                              By /s/ Terry Ao Minnis

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                            * Pro hac vice applications forthcoming
                            ** Application for admission forthcoming
                            º Not admitted in DC.




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                                CERTIFICATE OF SERVICE

        I certify that on this 25th day of October, 2019, I caused a copy of Plaintiffs’ Opposition
to Defendants Motion to Un-Relate and Reassign to be sent to all parties receiving CM/ECF
notices in this case.

                                                            /s/ Terry Ao Minnis
                                                            Terry Ao Minnis




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